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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

 Richard Deas,                                     )          C/A No.: 5:19-830-BHH-KDW
                                                   )
                          Plaintiff,               )
                                                   )
         v.                                        )
                                                   )    REPORT AND RECOMMENDATION
 Wayne McCabe; Joseph Canning;                     )
 Associate Warden Ford; Major Smith;               )
 Benjamin Davis; Lieutenant Danley;                )
 Director Bragg; Sergeant Brown; Sergeant          )
 Blackwell; Sergeant Rhinehard; Officer            )
 Gadsden; Officer Ezil; Head Nurse Robins;         )
 and Christina Long,                               )
                                                   )
                          Defendants.              )
                                                   )

       Richard Deas (“Plaintiff”), proceeding pro se, filed this action while being detained at the

Kershaw Correctional Institution. On March 22, 2019, the court directed Plaintiff to provide the

service documents necessary to advance his case. ECF No. 10. Plaintiff responded, but he did not

properly complete service documents for all Defendants named in this case. On April 8, 2019, the

court directed Plaintiff to provide the service documents necessary to advance his case. ECF No.

16. Plaintiff partially    responded    to   the   court’s    order; however, he failed to properly

complete his service documents. On April 16, 2019, the court directed Plaintiff to provide the

service documents necessary to advance his case. ECF No. 24. On May 1, 2019 the court issued

an order authorizing the United States Marshal to serve process upon Defendants. ECF No. 30. On

June 11, 2019, the service documents were returned to the court unexecuted for Defendants Bragg,

Rhinehard, Gadsden, and Ezil with the notations that “SCDC OGC cannot accept – could not find

defendant.” ECF Nos. 44, 45, 47, 48. Service documentation was also returned for Defendant

Brown unexecuted with the notation “SCDC OGC cannot accept more than one defendant.” ECF
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No. 46. By order issued on June 12, 2019, the court instructed Plaintiff that under Federal Rule of

Civil Procedure 4(m) that this court must dismiss an action against a defendant who was not served

within requisite the 90-day period. ECF No. 49. Plaintiff was directed to provide updated service

documents for Defendants Bragg, Rhinehard, Gadsden, Ezil, and Brown. Id. Plaintiff partially

responded to the June 12 order, but Plaintiff did not properly complete the requested service

documents. On July 2, 2019, the court issued another order directing Plaintiff to provide updated

service documents for Defendants Bragg, Rhinehard, Gadsden, Ezil, and Brown. ECF No. 57.

Plaintiff was again advised that under Federal Rule of Civil Procedure 4(m) this court must dismiss

an action against a defendant who was not served within requisite the 90-day period. Id. Plaintiff

did not file a response. Because more than 90 days has passed since the filing of Plaintiff’s

Complaint, and Plaintiff has not provided the Clerk of Court with a valid service documents, the

undersigned recommends that Defendants Bragg, Rhinehard, Gadsden, Ezil, and Brown be

dismissed from this action without prejudice.

       IT IS SO RECOMMENDED.




August 5, 2019                                       Kaymani D. West
Florence, South Carolina                             United States Magistrate Judge




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